                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                     : Chapter 13
             Brittany Ebson,                               :
                                      Debtor.              : Bankruptcy No. 19-16576-MDC


                                                ORDER
           AND NOW, pursuant to the Application for Compensation (the “Application”) 1 filed by Erik B.

Jensen (the “Applicant”), counsel to Brittany Ebson (the “Debtor”), the Applicant requests the allowance

of compensation in the amount of $16,120.50.

           AND, the Applicant was previously paid $1,900.00 by the Debtor (the “Pre-Paid Amount”).

           AND, after accounting for the Pre-Paid Amount the Application seeks the payment of $14,220.50

for the balance of fees sought (the “Remaining Balance”).

           AND, this Court entered an Order dated October 5, 2023 (the “Confirmation Order”) 2 confirming

the Debtor’s Twelfth Amended Chapter 13 Plan dated October 1, 2023 (the “Plan”). 3

           AND, the Plan provides that the Applicant will be paid $10,618.00 as an administrative expense,

which when added to the Pre-Paid Amount will result in a total payment to the Applicant in the amount of

$12,518.00. Plan, §2(a).

           AND, the Applicant filed a certification that proper service has been made on all interested

parties.

           AND, the Applicant filed a certification of no response.

           AND, the Court of Appeals has held that the bankruptcy court “has a duty to review fee

applications, notwithstanding the absence of objections by the United States Trustee . . ., creditors, or any

other interested party, a duty which . . . derives from the court’s inherent obligation to monitor the



1 Bankr. Docket No. 232.
2
  Bankr. Docket No. 295.
3
  Bankr. Docket No. 293.
debtor’s estate and to serve the public interest.” In re Busy Beaver Bldg. Centers, Inc., 19 F.3d 833, 841

(3d Cir. 1994) (emphasis in original).

        AND, a confirmation order precludes the relitigation of any issues that were determined by the

confirmation order. In re Szostek, 886 F.2d 1405, 1408-09 (3d Cir. 1989); In re McDuffie, Bky. No. 03-

65333, 2005 WL 3108234, *1 (Bankr. D. Md. Feb. 22, 2005) (“since no amendment to the plan was filed

to increase the specific amount to be paid to counsel, the court cannot order payment through the plan as

an administrative expense.”); In re Lasica, 294 B.R. 718, 722 (Bankr. N.D. Ill. 2003) (denying fee request

because applicant was bound by terms of previously confirmed Chapter 13 plan); In re Young, 285 B.R.

168, 174-75 (Bankr. D. Md. 2002) (“the confirmation of the plan, in which a specific amount of

disbursement to counsel for the debtor as attorney’s fees was required, acted as a final adjudication of the

matters set forth in the plan.”).

        It is hereby ORDERED that:

        1.       The Application is GRANTED IN PART and DENIED IN PART.

        2.       Consistent with the Confirmation Order, compensation is allowed in favor of the

Applicant in the total amount of $12,518.00 (the “Allowed Compensation”). See L.B.R. 2016-1(f)

(governing procedure for disposition of fee applications without a hearing). The balance of the fees

sought, in the amount of $3,602.50, are disallowed as inconsistent with the terms of the Plan.

        3.       The Trustee is authorized to distribute to the Applicant the Allowed Compensation less

the Pre-Paid Amount as an administrative expense pursuant to 11 U.S.C. §§330, 331, 503(b).




Dated: November 14, 2023
                                                          MAGDELINE D. COLEMAN
                                                          CHIEF UNITED STATES BANKRUPTCY JUDGE




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